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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


EQUAL EMPLOYMENT                                  )
OPPORTUNITY COMMISSION,                           )
                                                  )
      Plaintiff,                                  )      CIVIL ACTION NO. 3:19-CV-141-NBB-RP
                                                  )
v.                                                )
                                                  )
VALLEY TOOL, INC.                                 )      COMPLAINT
                                                  )
      Defendant.                                  )

                               NATURE OF THE ACTION


      This is an action under Title VII of the Civil Rights Act of 1964 (Title VII) and Title I

of the Civil Rights Act of 1991, to correct unlawful employment practices on the basis of

retaliation and to provide appropriate relief to Lottie Johnson Washington who was

adversely affected by such practices.

      As alleged with greater particularity in paragraph 14 below, Plaintiff Equal

Employment Opportunity Commission claims Defendant Valley Tool, Inc. (Defendant

Employer), violated Title VII by refusing to give Washington wage increases in retaliation

for Washington filing a charge of discrimination against Defendant Employer with the

Commission.

      Defendant Employer also failed to maintain employee medical records separate

from employee personnel files in violation of the Americans with Disabilities Act of 1990,

42 U.S.C. § 12112(d)(3)(B).
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                                 JURISDICTION AND VENUE

       1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331,

1337, 1343 and 1345. This action is authorized and instituted pursuant to Section

706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.§

2000e-5(f)(1) and (3) (“Title VII”) and pursuant to Section 102 of the Civil Rights Act of

1991, 42 U.S.C. § 1981a.

       2.     The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Northern District of Mississippi,

Oxford Division.

                                         PARTIES

       3.     Plaintiff,   the   Equal   Employment      Opportunity    Commission         (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation and enforcement of Title VII and is expressly authorized to

bring this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1).

       4.     Defendant Employer owns a manufacturing plant located at 101 Industrial

Park Road, Water Valley, MS 38965.

       5.    At all relevant times, Defendant Employer has been doing business

continuously in the State of Mississippi and the City of Water Valley and has at least 15

employees.

       6.     At all relevant times, Defendant Employer has continuously been an

employer engaged in an industry affecting commerce under Sections 701(b), (g) and (h)

of Title VII, 42 U.S.C. §§ 2000e(b), (g) and (h).




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                           ADMINISTRATIVE PROCEDURES

       7.     More than thirty days prior to the institution of this lawsuit, Washington filed

a charge with the Commission alleging violations of Title VII by Defendant Employer.

       8.     On December 13, 2018, the Commission issued to Defendant Employer a

Letter of Determination finding reasonable cause to believe that Title VII was violated and

inviting Defendant to join with the Commission in informal methods of conciliation to

endeavor to eliminate the unlawful employment practices and provide appropriate relief.

       9      The Commission engaged in communications with Defendant Employer to

provide Defendant Employer the opportunity to remedy the discriminatory practices

described in the Letters of Determination.

       10.    The Commission was unable to secure a conciliation agreement from

Defendant Employer that was acceptable to the Commission.

       11.    On March 21, 2019, the Commission issued to Defendant Employer a

Notice of Failure of Conciliation advising Defendant Employer that the Commission was

unable to secure from Defendant Employer a conciliation agreement acceptable to the

Commission.

       12.    All conditions precedent to the institution of this lawsuit have been fulfilled.

                                    STATEMENT OF CLAIMS

       13.    Since at least June 2018, Defendant Employer has engaged in unlawful

employment practices at 101 Industrial Park Road, Water Valley, MS 38965, in violation

of Section 704 of Title VII, 42 U.S.C. § 2000(e)-3(a).




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       14.    The unlawful employment practices include retaliating against Washington

by refusing to provide Washington with wage increases because she filed a charge of

discrimination with the Commission.

       a.     Defendant Employer hired Washington as a sorter on or around September

              9, 2016.

       b.      At hire, Johnson earned $8.00 per hour.

       c.     After working 90 days and as per Defendant Employer’s policy, Defendant

Employer increased Johnson’s hourly wage from $8.00 per hour to $8.50 per hour in

December 2016.

       d.     In March 2017, Respondent raised Washington’s hourly wage from $8.50

per hour to $9.00 per hour.

       e.     On June 1, 2017, Washington filed a charge of discrimination with the

Commission against Defendant Employer.

       f.     Defendant Employer’s president/owner advised Washington he would not

grant her another wage increase because Washington had contacted the “Labor Board”

and before Washington’s charge of discrimination, Defendant Employer had never had a

charge of discrimination filed against it.

       g.     When the Commission’s investigator interviewed Defendant Employer’s

president/owner, he admitted to retaliating against Washington by denying her wage

increases because “we’ve got this EEOC thing going.”

       h. Defendant Employer’s president/owner also admitted to retaliating against

Washington by denying her wage increases because Defendant Employer was having to

spend a lot of money responding to Washington’s charge of discrimination.




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      i. Defendant Employer’s president/owner further lamented that in over 21 years of

ownership, Washington’s charge was the first complaint received by Defendant Employer.

      15.     The effect of the practices complained of in paragraph(s) 14 a-i above has

been to deprive Washington of equal employment opportunities and otherwise adversely

affect her status as an employee, because she filed a charge of discrimination.

      16.     The unlawful employment practices include Defendant Employer failing to

maintain medical information on separate forms and in separate medical files.

      a.      The Commission conducted an onsite investigation of Defendant Employer

              on or around June 6, 2018.

      b.      During the onsite investigation, the Commission reviewed personnel files of

              Defendant Employer as part of its investigation.

      c.      The Commission observed medical information placed in the personnel files

              instead of placement in separate medical files.

      d.      Defendant Employer failed to segregate medical and non-medical

              information on separate forms and in separate medical files in violation of

              the Americans with Disabilities Act of 1990, 42 U.S.C. § 12112(d)(3)(B).

      17.     The unlawful employment practices complained of in paragraph 14 above

were intentional.

      18.     The unlawful employment practices complained of in paragraph 14 above

were done with malice or with reckless indifference to the federally protected rights of

Washington.

                                    PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:




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       A.     Grant a permanent injunction enjoining Defendant Employer, its officers,

agents, servants, employees, attorneys, and all persons in active concert or participation

with it, from retaliating against its employees by refusing to provide an employee with a

wage increase because the employee has filed a charge of discrimination.

       B.     Order Defendant Employer to institute and carry out policies, practices, and

programs which provide equal employment opportunities for employees who have

complained of discrimination and which eradicate the effects of its past and present

unlawful employment practices.

       C.     Order Defendant Employer to make whole Lottie Johnson Washington, by

providing appropriate backpay with prejudgment interest, in amounts to be determined at

trial, and other affirmative relief necessary to eradicate the effects of its unlawful

employment practices.

       D.     Order Defendant Employer to make whole Lottie Johnson Washington by

providing compensation for past and future pecuniary losses resulting from the unlawful

employment practices described in paragraph 14 above.

       E.     Order Defendant Employer to make whole Lottie Johnson Washington by

providing compensation for past and future nonpecuniary losses resulting from the

unlawful practices complained of in paragraph 14 above, including emotional pain,

suffering, inconvenience, loss of enjoyment of life, and humiliation, in amounts to be

determined at trial;

       F.     Order Defendant Employer to pay Lottie Johnson Washington punitive

damages for its malicious and reckless conduct, as described in paragraph 14 above, in

amounts to be determined at trial.




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       G.     Grant such further relief as the Court deems necessary and proper in the

public interest.

       H.     Award the Commission its costs of this action.


                                         Respectfully submitted,

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